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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                                            CASE NO.: 19-22037-BKC-EPK
                                                                         PROCEEDING UNDER CHAPTER 13

IN RE:

LAURA CICETTI
XXX-XX-0065

_____________________________/
DEBTOR

             NOTICE OF WITHDRAWAL OF MOTION AND CANCELLATION OF HEARING

                             *** (Hearing Set for 10/13/2020 is cancelled) ***

       PLEASE TAKE NOTICE that Robin R. Weiner, Esquire, Standing Chapter 13 Trustee hereby
withdraws her Motion to Dismiss or in the Alternative Convert Case to Chapter 7, said motion having been
made moot. The hearing set for October 13, 2020 at 1:00 pm on said motion is hereby cancelled.

          RESPECTFULLY SUBMITTED this 15th day of October, 2020.

                                                                   /s/ Robin R. Weiner
                                                                   _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154

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